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                                   No. 25-2039

             In the United States Court of Appeals
                     for the Ninth Circuit
                      COMMANDER EMILY SHILLING; et al.,
                               Plaintiffs-Appellees,
                                         v.
DONALD J. TRUMP, in his official capacity as President of the United States; et al.,
                             Defendants-Appellants.

   On Appeal from the United States District Court for the Western District of
       Washington, No. 2:25-cv-00241-BHS, Hon. Benjamin H. Settle

      PLAINTIFFS-APPELLEES’ RESPONSE IN OPPOSITION TO
           DEFENDANTS-APPELLANTS’ REQUEST FOR
                   ADMINISTRATIVE STAY

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                                INTRODUCTION

      As the district court cogently explained in its comprehensive memorandum

opinion, “[a] preliminary injunction is warranted to preserve the status quo.” Mem.

Op. at 62, Shilling v. Trump, No. 2:25-cv-00241 (W.D. Wash. Mar. 27, 2025), ECF

No. 104. By contrast, an administrative stay would reverse the status quo, in the

process harming Plaintiffs and many other selfless and patriotic servicemembers.

      In 2016, then-Secretary of Defense Ashton Carter formally directed that

“transgender individuals … be allowed to serve in the military” because “service in

the United States military should be open to all who can meet the rigorous standards

for military service and readiness.” Since that time—nearly a decade ago—

transgender servicemembers have continuously been serving openly in the military.

      Whether they have done so since the Carter Policy or the Austin Policy

promulgated in 2021, transgender servicemembers have been serving openly with

distinction and honor “for almost four years, and some for much longer than that.”

Mem. Op. at 3. “Throughout [Active-Duty Plaintiffs’] 115 years of collective

military service, they have been awarded over 70 medals for their honorable service

and distinctive performance—in many instances after coming out as transgender.”

Mem. Op. at 20.

      Here, “[t]he last uncontested status preceding this controversy is the Austin

Policy, that, for almost four years, … allowed active-duty transgender plaintiffs to



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serve openly.” Mem. Op. at 26. Granting an administrative stay of the preliminary

injunction would upend this status quo ante litem and would short-circuit the relief

sought in this case. As the district court concluded after a hearing and exhaustively

evaluating the evidence and sworn testimony proffered by plaintiffs (and the lack

thereof by Defendants), “[a]bsent an injunction, all transgender service members

are likely to suffer the irreparable harm of losing the military service career they

have chosen, while otherwise qualified accession plaintiffs will lose the opportunity

to serve.” Mem. Op. at 65. It would also significantly shift the status quo while the

litigation proceeds, contrary to the purpose of an administrative stay.

       Accordingly, Plaintiffs respectfully request that the Court deny the request

for an administrative stay while it considers Defendants’ request for a stay pending

appeal.

                                   ARGUMENT

I.    An Administrative Stay Would Upend the Status Quo.

      Defendants’ request for an administrative stay should be denied. An

administrative stay should not disrupt the status quo. See Doe #1 v. Trump, 944 F.3d

1222, 1223 (9th Cir. 2019) (“A temporary stay in this context (sometimes referred

to as an administrative stay) is only intended to preserve the status quo until the

substantive motion for a stay pending appeal can be considered on the merits, and

does not constitute in any way a decision as to the merits of the motion for stay



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pending appeal.”). When the Ninth Circuit reviews a request for an administrative

stay, the “touchstone is the need to preserve the status quo.” Nat’l Urb. League v.

Ross, 977 F.3d 698, 702 (9th Cir. 2020).

      Here, “the status quo would be seriously disrupted by an immediate stay of

the district court’s order.” Nat’l Urb. League, 977 F.3d at 701. As the district court

found, the status quo—“[t]he last uncontested status preceding this controversy”—

“is the Austin Policy, that, for almost four years, … allowed active-duty transgender

plaintiffs to serve openly.” Mem. Op. at 26. In other words, the status quo is that

transgender servicemembers have been (and are still) getting up each morning,

lacing up their boots, and going out to serve our country. And they have been doing

so for years, some for nearly a decade.

      If an administrative stay were to be granted here, the status quo would be

“seriously disrupted” and “upended, rather than preserved.” Nat’l Urb. League, 977

F.3d at 701, 703. Such an administrative stay would green-light the process of

purging thousands of transgender service members from their units and ending their

careers. A process that Defendants have indicated would begin today: March 28,

2025. See Ex. 1 (“March 21 Guidance”) to Notice Pursuant to Court’s Order,

Shilling v. Trump, (Mar. 21, 2025) ECF No. 94-01 (directing that involuntary

separation processes may be initiated on March 28, 2025); Mem. Op. at 19. Rather

than preserving the status quo, an administrative stay “would do just the opposite



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— it would disrupt the status quo and turn it on its head.” Am. Fed’n of Gov’t Emps.,

AFL-CIO v. United States Off. of Pers. Mgmt., No. 25-1677, 2025 WL 835337, at

*1 (9th Cir. Mar. 17, 2025).

      This is not a circumstance in which a policy has been in effect for an extended

period of time. See, e.g., Al Otro Lado v. Wolf, 945 F.2d 1223, 1224 (9th Cir. 2019)

(administratively staying an enjoined regulation that had been in effect for five

months). The Military Ban at issue here was announced issued mere days after the

new administration came in. See Ex. 1 (Exec. Order 14183) to Decl. of Matthew

Gordon at 1, Shilling v. Trump, ECF No. 31-01; Mem. Op., at 1. It was then hurried

through the Department of Defense which issued formal guidance on February 26,

2025. See Ex. 7 (“February 26 Guidance”) to Notice Pursuant to Court’s Order,

Shilling v. Trump, ECF No. 58-07. Despite being created in a “rushed and

haphazard” manner that significantly departs from the usual development of

military policy, the Military Ban has still not gone into effect. Suppl. Decl. of Alex

Wagner at ¶¶ 25-26, Shilling v. Trump, ECF No. 84. Nonetheless, Defendants have

made it clear that, absent an injunction, starting today, they intend to initiate the

involuntary separation processes, which immediately deems service members non-

deployable. See March 21 Guidance.




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II.   Defendants Are Not Harmed by the Status Quo.

      While the only relevant question in determining whether an administrative

stay is appropriate is whether it preserves the status quo, it is worth noting that

Defendants have failed to demonstrate they would be harmed by maintaining the

status quo.

      Defendants have at their fingertips nearly ten years of data to draw from to

support their claims that transgender people are unfit to serve and to prove that

transgender people are “inconsistent” with the military values of “honesty”

“humility” and “integrity.” Indeed, as the district court observed, “[a]ny evidence

that [military] service [by transgender people] over the past four years harmed any

of the military’s inarguably critical aims would be front and center. But there is

none.” Mem. Op. at 5. Here, the record is clear:

      Plaintiffs submit evidence that their service and that of other
      transgender service members has not had the damaging effects that
      purportedly support the Military Ban. The government has in turn
      provided no evidence supporting the conclusion that military readiness,
      unit cohesion, lethality, or any of the other touchstone phrases long used
      to exclude various groups from service have in fact been adversely
      impacted by open transgender service under the Austin Policy. The
      Court can only find that there is none.

Mem. Op. at 2.

      Defendants will not be harmed by preserving the status quo and allowing

transgender servicemembers to continue serving our country while this Court

decides whether to stay the preliminary injunction on appeal.


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       Furthermore, as noted below, transgender servicemembers are already “held

to the same standards and procedures, thus guaranteeing readiness and

deployability, all the while preserving retention.” Mot. for Prelim. Inj. at 14, Shilling

v. Trump, ECF No. 23. There already are generally applicable regulations in place

that would apply if any service member—whether they are transgender or not—that

ensure military readiness. See, e.g., Ex. 35 (“Soper Decl.”) to Suppl. Decl. of

Matthew Gordon, Shilling v. Trump, ECF No. 83-09 (noting the military already

has generally applicable criteria to determine whether a medical condition affects

the ability to serve and deployability).

III.   An Administrative Stay Would Cause Irreparable Harm.

       Not only would allowing the Military Ban to go into effect upend and reverse

the status quo ante litem, but it would also result in concrete and devastating harms

to transgender servicemembers. As the district court held, “[a]bsent an injunction,

all transgender service members are likely to suffer the irreparable harm of losing

the military service career they have chosen, while otherwise qualified accession

plaintiffs will lose the opportunity to serve.” Mem. Op. at 65. “Because the military

has operated smoothly for four years under the Austin Policy, any claimed hardship

it may face in the meantime pales in comparison to the hardships imposed on

transgender service members and otherwise qualified transgender accession

candidates, tipping the balance of hardships sharply toward plaintiffs.” Id.



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      Granting an administrative stay would allow Defendants to immediately begin

pulling transgender troops from deployment, combat operations, highly specialized

military occupational specialties, and countless other contexts. Defendants would do

so simply because these servicemembers are transgender. Allowing such involuntary

separation processes to occur would cause immediate and irreparable harm, not only

to these servicemembers but to our Country. These involuntary separations would

immediately and irreparably harm our military readiness by depriving units of

experienced servicemembers who the military has spent considerable resources to

train and whom their units have come to trust and to rely upon.

IV.   Should the Court Grant an Administrative Stay, the Court Should
      Order Expedited Briefing on the Motion to Stay Pending Appeal
      and Instruct Defendants That No Action Negatively Impacting
      Transgender Servicemembers Be Taken Absent Advance Notice to
      Plaintiffs and the Court.

      As noted herein, an administrative stay is improper in this case as it would

disrupt the status quo and result in the very harms the preliminary injunction is

intended to prevent. However, should the Court be inclined to enter an administrative

stay, briefing relating to and consideration of the motion to stay the preliminary

injunction pending appeal should be expedited. In such circumstances, Plaintiffs

request that their response to Defendants’ motion requesting a stay pending appeal

be due by Monday, March 31, 2025, and any reply be due no later than Tuesday,

April 1, 2025.



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      In addition, because aside from preserving the status quo, an administrative

stay is only intended to give the Court sufficient time to consider an emergency

motion for a stay pending appeal, the Court should instruct Defendants that no action

negatively affecting transgender servicemembers be taken during the pendency of

the administrative stay without providing sufficient notice (at least 48 hours) to

Plaintiffs and the Court. Cf. Order, Talbott v. United States, No. 25-5087 (D.C. Cir.

Mar. 27, 2025) (“If any action occurs that negatively impacts service members under

the Hegseth Policy and MDI Guidance before the court lifts the administrative stay,

the plaintiffs may file a motion to lift the administrative stay, and the court will

consider it expeditiously.”).

                                  CONCLUSION

      For the foregoing reasons, the Court should deny Defendants’ request for an

administrative stay while the Court considers Defendants’ request for a stay pending

appeal. Plaintiffs intend to file their opposition to Defendants’ request for a stay

pending appeal in accordance with whatever briefing schedule is set by the Court.

      Should the Court be inclined to issue an administrative stay, the Court should

set expedited briefing on Defendants’ emergency motion for a stay pending appeal

such that Plaintiffs’ opposition is due by Monday, March 31, 2025, and any reply is

due no later than Tuesday, April 1, 2025.




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     Dated this 28th day of March 2025.

                                          Respectfully submitted,

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